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IN THE UNITED STATES DISTRICT COURT FOR THE
DISTRICT OF MASSACHUSETTS

 

DEANNA HOSKEY :
WALTER HOSKEY, JR., H/W, : CIVIL ACTION

Plaintiffs, : NO.
V.

DEPUY SYNTHES PRODUCTS,
INC.; DEPUY SYNTHES SALES,
INC.,

Defendants.

 

NOTICE OF REMOVAL

Defendants, DePuy Synthes Products, Inc. and DePuy Synthes Sales, Inc.
(collectively “DePuy Synthes”), by and through their undersigned counsel,
respectfully petition this Court for removal of the above-captioned case from the
Bristol County Superior Court of Massachusetts to the United States District Court
for the District of Massachusetts pursuant to 28 U.S.C. §§ 1332(a), 1441(a), and
1446, and allege as follows:

1. Plaintiffs initiated this action against DePuy Synthes in the Bristol
County Superior Court of Massachusetts, No. 1973CV00360, by filing a

Complaint on April 17, 2019. A copy of the Complaint is attached as Exhibit “A.”

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2. On April 18, 2019, DePuy Synthes received an electronic alert
indicating that DePuy Synthes had been sued and subsequently obtained a copy of
the Complaint.

3. Plaintiffs have not properly served either DePuy Synthes entity.

4, This Notice is timely, it being filed within thirty days of Defendants’
obtaining of a copy of the Complaint setting forth the claims for relief upon which
the action is based.

5. Plaintiffs Deanna Hoskey and Walter Hoskey Jr. are citizens of the
State of Arizona. See Ex. A at J 1.

6. This case is a civil suit in which Plaintiffs seek damages from DePuy
Synthes based on an alleged defect in a radial head prosthesis system that Plaintiffs
contend was designed, manufactured, and sold by DePuy Synthes. Jd. at { 6.

Pe In determining whether diversity jurisdiction exists for a corporation,
the only relevant inquiries are: (1) place of incorporation; and (2) principal place
of business. 28 U.S.C. § 1331(c)(1).

8. A corporation’s principal place of business is the location from where
its officers direct, control, and coordinate its corporate activities. Hertz Corp. v.
Friend, 559 U.S. 77, 92-93 (2010).

9, DePuy Synthes Products, Inc. is incorporated in Delaware and has its

principal place of business in Massachusetts.

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10. DePuy Synthes Products, Inc.’s principal place of business is in
Massachusetts because its officers direct, control, and coordinate its corporate

activities from Massachusetts.

11. Depuy Synthes Sales, Inc. is a Massachusetts corporation with its
principle place of business in Massachusetts.

12. Depuy Synthes Sales, Inc.’s principal place of business is in
Massachusetts because its officers direct, control, and coordinate its corporate
activities from Massachusetts.

13. Plaintiffs seek damages from DePuy Synthes in “an amount that is
just and appropriate to compensate her for the injuries and damages sustained, plus
interest and costs.” See Exhibit A at “WHEREFORE” clauses to Counts I through
V.

14. Plaintiffs allege that:

Plaintiff suffered serious injury to her arm and elbow.
Upon discharge to her home, Plaintiff required assistance
with bathing and other daily activities. The Plaintiff's
debilitating injuries have: (1) necessitated medical care
and expenses; (2) necessitated multiple surgeries, and
extensive rehabilitation; (3) temporarily rendered her
incapable of working; (4) caused extraordinary physical
pain and suffering and emotional distress and anguish;
and (5) negatively affected the quality of her life by
rendering her physically dependent on others and
preventing her from enjoying normal day-to-day, social
and recreational activities.

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Exhibit A at ¥ 40.
15. They further allege:

As a direct and/or proximate result of the aforementioned
conduct of the Defendants, Plaintiff has suffered physical
pain and suffering, delayed healing, required revision
surgery, psychological trauma, mental anguish,
emotional distress, discomfort, inconvenience,
embarrassment, and the loss of the ability to enjoy the
pleasures of life, and will to continue to so suffer for an

indefinite period of time into the future . . . serious,
debilitating and permanent physical injuries, pain and
suffering and mental anguish .. ., loss of income....

Exhibit A at J] 50, 57.

16. Under 28 U.S.C. § 1441, “any civil action brought in a State court of
which the district courts of the United States have original jurisdiction, may be
removed by the defendant or defendants, to the district court of the United States
for the district and division embracing the place where such action is pending.” 28
U.S.C. § 1441(a).

17. Under 28 U.S.C. § 1332, which provides for diversity jurisdiction, the
“district courts shall have original jurisdiction of all civil actions where the matter
in controversy exceeds the sum or value of $75,000, exclusive of interest and costs,
and is between . . . citizens of different States.” 28 U.S.C. § 1332(a)(1).

18. Here, Plaintiffs’ Complaint does not seek a precise amount of

damages. Instead, the Complaint seeks damages from DePuy Synthes in “an

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amount that is just and appropriate to compensate [Plaintiff] for the injuries and
damages sustained, plus interest and costs.” See Exhibit A at “WHEREFORE”
clauses to Counts I through V. The Complaint does not indicate the maximum
potential worth of Plaintiffs’ damages.

19. When a complaint does not limit its request to a precise monetary
amount, courts appraise the claim’s value—from the plaintiff's point of view—to
determine whether it satisfies the amount in controversy requirement. See
generally Chin v. Holiday Cruises IT, Inc., 141 F.R.D. 367, 370 (D. Mass. 1992).

20. Courts find that the amount in controversy is satisfied where, as here,
there are allegations of serious personal injury, mental anguish, and the possibility
of future medical care. Stewart v. Tupperware Corp., 356 F.3d 335, 340 (1st Cir.
2004) (finding amount in controversy requirement was satisfied casein plaintiffs
suffered physical injuries that resulted in permanent impairment to their bodily
functions, had to cope with mental anguish of injuries, and may require future
medical and psychological care); Chin 141 F.R.D. at 370 (finding amount in
controversy was satisfied even though plaintiffs immediate medical expenses were
low because her ability to enjoy life was “greatly damaged” and she suffered “great
pain of body and mind”); Gabrielle v. Allegro Resorts, 210 F. Supp. 2d 62, 66
(D.R.I. 2002) (finding following allegations sufficient to satisfy amount in

controversy: bodily and psychological injuries, medical and psychiatric treatment,

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and continuing disability); Raya-Rodriguez v. Sears Roebuck Co., 389 F. Supp. 2d
275, 278 (D.P.R. 2005) (finding following allegations sufficient to satisfy amount
in controversy, despite lack of allegations of permanent disability: plaintiff
required surgery and physical therapy, developed scar, and suffered from
emotional stress and continuing physical pain); Phillips v. Fox Ridge Resort, No.
Civ. 02-586-B, 2003 WL 22018895, at *2 (D.N.H. Aug. 22, 2003) (finding
following allegations sufficient to satisfy amount in controversy: medical bills
totaling over $12,000, lost wages, pain and suffering, and permanent scarring).

21. In fact, “medical evidence showing that a plaintiff is suffering from a
continuing or permanent physical impairment [is] an important indicator’ in
determining whether the plaintiff meets the amount-in-controversy requirement.”
Rosario Ortega v. Star-Kist Foods, Inc., 370 F.3d 124, 129 (1st Cir. 2004) (internal
quotation omitted) (alteration in original), rev’d on other grounds, Exxon Mobil
Corp. v. Allapattah Servs., Inc., 545 U.S. 546 (2005).

22. As a result, Plaintiffs’ allegations concerning the damages they
allegedly suffered and continue to suffer, coupled with their demand for damages
in an amount appropriate to compensate for the injuries and damages sustained,
satisfy the amount in controversy requirement in this case.

23. Because the parties to this action are citizens of different states, and

because the amount in controversy exceeds $75,000 under First Circuit law, federal

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diversity jurisdiction exists, and removal of this action is appropriate under 28
U.S.C. § 1332(a).

24. Pursuant to 28 U.S.C. § 1446(d), written notice of the filing of the
Notice of Removal is being provided to Plaintiffs and is being filed with the Bristol
County Superior Court of Massachusetts.

25. Judicial economy, fairness, and convenience to the parties will be
served by removing this state action to federal court.

26. Pursuant to 28 U.S.C. § 1446(a), no process, pleadings, or orders have
been served on DePuy Synthes in this action. The Complaint, which DePuy
Synthes received through an electronic “dinger” notification, is attached hereto as
Exhibit “A.”

WHEREFORE, Defendants, DePuy Synthes Products, Inc. and DePuy
Synthes Sales, Inc., respectfully request that the above-captioned action pending
against it in the Bristol County Superior Court of Massachusetts be removed to the

United States District Court for the District of Massachusetts.

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Respectfully submitted,

   

 

  

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Attorneys for Defendants

  

Dated: April 19, 2019

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CERTIFICATE OF SERVICE
I, Michael Trainor, Esquire, hereby certify that, on April 19, 2019, a true and
correct copy of the foregoing Notice of Removal was served via email and first-

class mail upon the following:

Michael Appel, Esq.
Julie Ferraro, Esq.
Ketterer, Browne & Anderson, LLC
11130 Sunrise Valley Drive, Suite 140 Reston, VA 20190
Email: michael@kbaattorneys.com; julie@kbaattorneys.com _

4° Michael Trainor

 

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